                                EXHIBIT 6
       Settlement and Plan Support Agreement
                     Term Sheet




13-53846-tjt   Doc 2802-6   Filed 03/03/14   Entered 03/03/14 18:48:54   Page 1 of 13
                                    For Settlement Purposes
                                      Subject to FRE 408

                                      CITY OF DETROIT

                                         Term Sheet
                              For Agreement with UBS and MLCS

This is a term sheet for discussion purposes. It is not intended to be a commitment by any Party
unless reduced to a definitive written agreement signed by all Parties. No right, claim, remedy or
defense is being waived.

Parties:                                          The City, UBS AG (“UBS”) and Merrill Lynch
                                                  Capital Services, Inc. (“MLCS”) (together, the
                                                  “Parties”).

Plan:                                             Upon approval by the Bankruptcy Court by
                                                  final order in form and substance satisfactory
                                                  to the Parties under Bankruptcy Rule 9019 of a
                                                  definitive agreement (the “Agreement”)
                                                  implementing the terms set forth in this term
                                                  sheet, UBS and MLCS will agree to vote the
                                                  Secured Claims (as defined below), subject to
                                                  being properly solicited, in support of, and not
                                                  (in their capacity as holders of the Secured
                                                  Claims) object to, a plan of adjustment (the
                                                  “Plan”) proposed by the City so long as the
                                                  rights and claims of UBS and MLCS are
                                                  treated in accordance with the Agreement as
                                                  contemplated by this term sheet. The City will
                                                  not propose or support a Plan that (a) treats the
                                                  Secured Claims (as defined below) any less
                                                  favorably than contemplated by this term sheet
                                                  or (b) otherwise has a material adverse effect
                                                  on UBS or MLCS or any of UBS’s or MLCS’s
                                                  affiliates or affiliated persons with respect to
                                                  the Secured Claims, the Swaps or the
                                                  Certificates of Participation as compared to this
                                                  term sheet.

Payments to UBS and MLCS:                         During the term of the Agreement and until the
                                                  Net Amount (as defined below), together with
                                                  any interest thereon as provided below, is paid
                                                  in full in cash, the City will timely make the
                                                  monthly Holdback Requirement (as defined in
                                                  the Collateral Agreement) payments in the



                                              -1-
13-53846-tjt    Doc 2802-6      Filed 03/03/14 Entered 03/03/14 18:48:54            Page 2 of 13
                                              manner provided by and on the terms set forth
                                              under Section 5.2(a)(1) and (b) of the
                                              Collateral    Agreement       (the   “Monthly
                                              Payments”) and UBS and MLCS will timely
                                              receive the quarterly payments in an amount
                                              equal to all Hedge Periodic Payables (as
                                              defined in the Collateral Agreement) required
                                              to be paid to them in the manner provided by
                                              and on the terms set forth under Section
                                              5.7(a)(i) of the Collateral Agreement. In
                                              addition to being payments required under the
                                              Collateral Agreement, the payments to UBS
                                              and MLCS will be considered to be adequate
                                              protection payments pursuant to section 361 of
                                              the Bankruptcy Code to protect against
                                              diminution of UBS’s and MLCS’s interest in
                                              the Pledged Property (as defined below).

                                              The quarterly payment to be made to each of
                                              UBS and MLCS on March 14, 2014, will be
                                              held by each in segregated accounts at UBS
                                              and MLCS, respectively, until the earlier of (i)
                                              approval of the Agreement by the Bankruptcy
                                              Court and (ii) further order of the Bankruptcy
                                              Court with respect to such payment (including
                                              as such order may be modified by
                                              reconsideration, appeal or certiorari).


Forbearance by UBS and MLCS:                  During the term of the Agreement and so long
                                              as the City is not in breach of the Agreement,
                                              UBS and MLCS will (a) not seek to prevent
                                              the City from obtaining payments from the
                                              General Receipts Subaccount and (b) subject to
                                              such exceptions as will be set forth in the
                                              Agreement, use best efforts to take any action
                                              reasonably requested by the City to reverse any
                                              action by the Collateral Agreement Custodian
                                              to withhold or delay the payments to the City.

City’s Undertaking re Litigation:             Unless and until the Agreement is terminated
                                              as set forth below, the City will (a) not
                                              commence or prosecute any litigation (or
                                              directly or indirectly cause either Service
                                              Corporation or any other person to or support
                                              either Service Corporation or any other person



                                              -2-
13-53846-tjt    Doc 2802-6      Filed 03/03/14 Entered 03/03/14 18:48:54       Page 3 of 13
                                                         in commencing or prosecuting any litigation)
                                                         against UBS, MLCS or any of UBS’s or
                                                         MLCS’s affiliates or affiliated persons relating
                                                         to the Swaps, the Secured Claims, the
                                                         collateral securing the Secured Claims or the
                                                         Certificates of Participation and (b) if either
                                                         Service Corporation or any other person
                                                         commences any such litigation, cooperate with
                                                         and support the defense of the litigation by the
                                                         UBS or MLCS defendant; provided however,
                                                         that the City will remain able to defend itself
                                                         against, oppose and dispute any allegations,
                                                         counter-claims, cross-claims, defenses or
                                                         claims for relief propounded by or on behalf of
                                                         UBS, MLCS or any of UBS’s or MLCS’s
                                                         affiliates or affiliated persons arising in or
                                                         relating to its litigation to invalidate the
                                                         Certificates of Participation 1 so long as the
                                                         City is not seeking any affirmative recovery
                                                         from, or otherwise advocating for any
                                                         affirmative liability of, UBS, MLCS or any of
                                                         UBS’s or MLCS’s affiliates or affiliated
                                                         persons.

Preservation of Swaps:                                   Except as contemplated by this term sheet,
                                                         (a) the Swaps will not be terminated and
                                                         (b) the rights of UBS and MLCS under the
                                                         Swaps will remain unaltered.

Options to Terminate Swaps:                              Each of UBS and MLCS will retain the option
                                                         at any time to terminate one or more of its
                                                         Swaps, either by declaring a Termination
                                                         Event or Event of Default or, in consideration
                                                         for the Secured Claims relating to the Swap, by
                                                         exercising the Optional Termination Provision
                                                         of the Swap.

                                                         The termination or invalidation of any Swap
                                                         (or occurrence of any Hedge Event (as defined
                                                         in the Collateral Agreement)) will not modify
                                                         (a) the obligations of UBS and MLCS set forth
                                                         above under “Forbearance by UBS and
                                                         MLCS”, even though a termination amount is
                                                         then owed under the Swap or (b) the amounts

1
 City of Detroit, Michigan v. Detroit General Retirement System Service Corporation et al. [Ad. Proc. No. 14-
04112].


                                                   -3-
13-53846-tjt      Doc 2802-6         Filed 03/03/14 Entered 03/03/14 18:48:54                  Page 4 of 13
                                          or timing of the City’s payment obligations in
                                          respect of the Swap set forth above under
                                          “Payments to UBS and MLCS”, which would
                                          continue to be made as if such termination,
                                          invalidation or Hedge Event had not occurred.

Secured Claims:                           Upon the approval of the Agreement by the
                                          Bankruptcy Court, each of UBS and MLCS
                                          will receive an allowed claim (collectively, the
                                          “Secured Claims”) against the City secured by
                                          valid and enforceable liens (“Liens”) on the
                                          collateral (the “Pledged Property”) pledged by
                                          the City under the Collateral Agreement and/or
                                          Ordinance No. 05-09 of the City, which, solely
                                          for purposes of distributions from the City,
                                          shall be in the aggregate principal amount
                                          equal to $42.5 million for each of UBS and
                                          MLCS, payable in cash, plus any interest as
                                          provided below. The receipt by UBS or MLCS
                                          of a Secured Claim relating to any Swap will
                                          not affect any claim that it might have against
                                          any other person (including the Service
                                          Corporation that is party to the Swap).

                                          No termination, invalidation or avoidance of
                                          any Swap, Service Contract obligation, lien
                                          securing any Service Contract obligation or
                                          lien granted by either Service Corporation,
                                          disregard or veil piercing of either Service
                                          Corporation, substantive consolidation of
                                          either Service Corporation with the City,
                                          invalidation or avoidance of any of the
                                          Certificates of Participation or any similar or
                                          other event or circumstance will affect the
                                          allowance and continued validity of the
                                          Secured Claims, the Liens or the Parties’
                                          obligations under the Agreement. Except as
                                          reduced by payments as set forth in the
                                          Agreement, the Secured Claims and Liens will
                                          (i) be valid, binding perfected and enforceable
                                          and (ii) not be subject to avoidance, reduction,
                                          subordination,      reconsideration,    merger,
                                          recharacterization, consolidation, recoupment,
                                          recovery, deduction, attack, offset, objection,
                                          defense, claim (as defined in the Bankruptcy
                                          Code) or counterclaim under applicable



                                          -4-
13-53846-tjt   Doc 2802-6   Filed 03/03/14 Entered 03/03/14 18:48:54       Page 5 of 13
                                                provisions of the Bankruptcy Code or state law
                                                or in equity; and shall not be subject to
                                                disallowance under any provision of the
                                                Bankruptcy Code, including section 502(d)
                                                thereof.

                                                The City will (a) not commence or prosecute
                                                any litigation (or directly or indirectly cause or
                                                support any other person in commencing or
                                                prosecuting any litigation) to challenge any
                                                liens on the Pledged Property, (b) defend the
                                                validity, perfection and priority of such liens
                                                against any challenge by any other person and
                                                (c) not cause or permit any other liens to be
                                                senior to or pari passu with such liens until the
                                                Net Amount, together with any interest
                                                thereon, has been paid in full in cash.

Satisfaction of Secured Claims:                 Unless a Liquidity Event (as defined below)
                                                occurs, on or promptly following the effective
                                                date of the Plan, the City will pay to UBS and
                                                MLCS in cash, in satisfaction and discharge of
                                                the Secured Claims, the aggregate principal
                                                amount of $85 million less the sum of all
                                                amounts paid to UBS and MLCS under the
                                                Collateral Agreement since January 1, 2014
                                                (the “Net Amount”), plus any interest on the
                                                Net Amount as provided below.

                                                The Secured Claims will also be satisfied and
                                                discharged if, prior to the effective date of the
                                                Plan or following dismissal of the Bankruptcy
                                                Case, UBS and MLCS have received under the
                                                Collateral Agreement the aggregate principal
                                                amount of $85 million since January 1, 2014,
                                                plus any interest on the Net Amount as
                                                provided below.

                                                Once the Secured Claims have been satisfied
                                                and discharged, any Monthly Payments then
                                                held by the Custodian will be returned to the
                                                City.

                                                Except as provided under “Liquidity Event”
                                                below, if the Secured Claims are not fully paid
                                                as provided above by October 15, 2014, then,



                                                -5-
13-53846-tjt    Doc 2802-6        Filed 03/03/14 Entered 03/03/14 18:48:54        Page 6 of 13
                                                           on and after October 15, 2014, the unpaid Net
                                                           Amount will bear interest at the rate
                                                           contemplated to be paid to the provider of the
                                                           quality-of-life post-petition financing to the
                                                           City (such rate, the “Post-Petition Rate”),
                                                           which the City expects to seek approval for
                                                           prior to entry of the order approving the
                                                           Agreement.

                                                           The order approving the Agreement will
                                                           provide that, upon full payment of the Secured
                                                           Claims in cash, plus interest, if any, thereon,
                                                           the liens granted by the City under the
                                                           Collateral Agreement will be released without
                                                           further action by UBS, MLCS, the Collateral
                                                           Agreement Custodian or any other person.

Liquidity Event:                                           If the Net Amount plus interest accrued
                                                           thereon is not paid in connection with the
                                                           effective date of the Plan, other than with
                                                           respect to net proceeds used to repay up to
                                                           $120 million principal amount (plus all interest
                                                           and fees) of the City’s quality-of-life post-
                                                           petition financing facility, 2 to the extent
                                                           permitted by law but without taking into
                                                           consideration any limitations imposed by the
                                                           City, including in any ordinance or resolution
                                                           of the City, the first dollars of any net cash
                                                           proceeds of any financing or refinancing
                                                           consummated in connection with, or
                                                           subsequent to, the consummation of the City’s
                                                           plan of adjustment and either (i) supported by
                                                           the full faith and credit of the City or (ii)
                                                           payable from the general fund of the City shall
                                                           be used to pay the Net Amount plus any
                                                           interest accrued thereon. The City will use
                                                           best efforts to secure sufficient exit financing
                                                           to pay the Net Amount plus any interest
                                                           accrued thereon on or promptly following the
                                                           effective date of the Plan, and failing that, as
                                                           soon thereafter as possible. If, notwithstanding
                                                           its best efforts, the City is unable to secure
                                                           sufficient exit financing to pay the Net Amount
                                                           plus any interest accrued thereon on or

2
 The order approving the Agreement will refer to the docket number of the motion or order regarding quality-of-life
post-petition financing facility.


                                                   -6-
13-53846-tjt       Doc 2802-6        Filed 03/03/14 Entered 03/03/14 18:48:54                     Page 7 of 13
                                          promptly following the effective date of the
                                          Plan (such occurrence, a “Liquidity Event”),
                                          the City will so notify UBS and MLCS in
                                          writing at least 15 business days prior to the
                                          effective date of the Plan.

                                          Upon the occurrence a Liquidity Event, UBS
                                          and MLCS will defer full payment of the Net
                                          Amount plus interest accrued thereon for 180
                                          days following the effective date of the Plan;
                                          provided that (i) the City will continue to
                                          comply with its obligations, and UBS and
                                          MLCS will continue to receive the payments,
                                          set forth in “Payments to UBS and MLCS”
                                          above during the deferral period; (ii) the
                                          Secured Claims will remain secured by the
                                          Pledged Property and all other collateral
                                          securing the Secured Claims; (iii) from and
                                          after the effective date of the Plan, the Net
                                          Amount will accrue interest at 1.5% plus the
                                          Post-Petition Rate; and (iv) UBS and MLCS
                                          will receive on the effective date of the Plan a
                                          deferral fee equal to 1% of the Net Amount.

Termination of Agreement:                 Any Party may terminate the Agreement upon
                                          three business days’ notice to the other Parties
                                          if the Bankruptcy Court denies the Approval
                                          Motion, or if a Bankruptcy Court order
                                          granting the Approval Motion is modified,
                                          vacated or reversed on appeal.

                                          The City may terminate the Agreement upon
                                          three business days’ notice to UBS and MLCS
                                          if:

                                             (a) the City is prevented from obtaining
                                          payments from the General Receipts
                                          Subaccount because of the actions of any
                                          person, other than UBS or MLCS, claiming an
                                          interest in the Pledged Property on account of
                                          the liens granted by the City thereon under the
                                          Collateral Agreement and the City’s access to
                                          the payments is not subsequently restored
                                          within a period of 20 days after access was
                                          prevented; or




                                          -7-
13-53846-tjt   Doc 2802-6   Filed 03/03/14 Entered 03/03/14 18:48:54       Page 8 of 13
                                              (b) UBS or MLCS fails to comply with its
                                            obligations set forth above under “Forbearance
                                            by UBS and MLCS” and the failure has not
                                            been cured by the end of the three business day
                                            period.

                                            Upon termination of the Agreement as
                                            provided above, the allowance of the Secured
                                            Claims and the releases contemplated below
                                            will be nullified, and the Parties will be
                                            restored to their prior positions with all rights,
                                            claims, remedies and defenses restored as if the
                                            Agreement were never effective, subject to the
                                            provisions set forth below under “Tolling of
                                            Certain Periods”.

Tolling of Certain Periods:                 From January 31, 2014, until termination of the
                                            Agreement, all statutes of limitation on
                                            Released Claims (as defined below) and any
                                            limitation on the time in which UBS or MLCS
                                            may exercise contractual rights under the
                                            Bankruptcy Code “safe harbors” for swap
                                            agreements will be tolled.

Releases:                                   As used herein, the term “City Releasors”
                                            means the City and, if and at any time, any
                                            entity, including either Service Corporation, is
                                            collapsed into, disregarded, veil-pierced,
                                            substantively consolidated with or similarly
                                            treated with respect to the City, that entity; and
                                            the term “Counterparty Releasors” means UBS
                                            and MLCS.

                                            The following releases will be approved upon
                                            the approval of the Agreement by the
                                            Bankruptcy Court and will not be subject to
                                            further modification without the consent of the
                                            Parties.

                                            Upon the earlier of (i) the satisfaction in cash
                                            of the Secured Claims and the release of the
                                            Liens and (ii) the effective date of the Plan, and
                                            without further action, (a) the City Releasors
                                            will have released unconditionally, and be
                                            deemed to release unconditionally the
                                            Counterparty Releasors and their affiliates and



                                            -8-
13-53846-tjt    Doc 2802-6    Filed 03/03/14 Entered 03/03/14 18:48:54        Page 9 of 13
                                               each of their respective present and former
                                               Related Persons (as defined below)
                                               (collectively, the “Counterparty Released
                                               Parties”) and (b) the Counterparty Releasors
                                               will have released unconditionally, and be
                                               deemed to release unconditionally the City
                                               Releasors and their affiliates and each of their
                                               respective present and former Related Persons
                                               (other than, to the extent not a City Releasor,
                                               the Service Corporations) from any and all
                                               claims, obligations, suits, judgments, damages,
                                               debts, rights, remedies, causes of action and
                                               liabilities of any nature whatsoever (including,
                                               without limitation, all claims relating to the
                                               Swaps, the Certificates of Participation or the
                                               Service Corporations) whether known or
                                               unknown, foreseen or unforeseen, liquidated or
                                               unliquidated, matured or unmatured, existing
                                               or hereafter arising, in law, equity, or
                                               otherwise, that are or may be based in whole or
                                               in part upon any act, omission, transaction,
                                               event or other occurrence taking place or
                                               existing on or prior to the effective date of the
                                               Plan related to the Swaps, the Certificates of
                                               Participation, the Service Corporations, any
                                               and all transactions related to the Swaps, the
                                               Certificates of Participation, the Service
                                               Corporations and/or the Funding Trusts, or the
                                               Chapter 9 Proceedings (the “Released
                                               Claims”), provided, however, that the Released
                                               Claims shall not include any claims with
                                               respect to enforcement of the Agreement. To
                                               the extent any creditor of the City is exculpated
                                               under the Plan, the Plan shall also exculpate
                                               the Counterparty Released Parties in
                                               connection with the Agreement or the Chapter
                                               9 Proceedings.         Until approval of the
                                               Agreement by the Bankruptcy Court, all rights,
                                               claims, remedies and defenses of the Released
                                               Parties are preserved.        “Related Persons”
                                               means officers, directors, employees, members,
                                               managers, partners and attorneys and other
                                               advisors.

                                               The order approving the Agreement shall
                                               contain a bar order that will permanently bar,



                                             -9-
13-53846-tjt   Doc 2802-6   Filed 03/03/14      Entered 03/03/14 18:48:54       Page 10 of 13
                                            enjoin and restrain all persons (the “Barred
                                            Persons”) from commencing, prosecuting, or
                                            asserting in the Bankruptcy Court, in any
                                            federal or state court, or in any other court,
                                            arbitration proceeding, administrative agency,
                                            or other forum in the United States or
                                            elsewhere any claim for non-contractual
                                            indemnity or contribution against any
                                            Counterparty Released Party arising out of or
                                            relating to or reasonably flowing from the
                                            claims or allegations in any of the Released
                                            Claims, whether or not denominated as for
                                            contribution or indemnity, where the injury to
                                            the person is the liability of the person to the
                                            City or the Service Corporations (or any person
                                            acting on behalf of, or asserting derivative
                                            claims of, the City or either Service
                                            Corporation, including any successor to the
                                            City or either Service Corporation, including
                                            any trustee, any committee appointed in the
                                            Chapter 9 case, any trustee of a litigation trust
                                            or any estate representative appointed or
                                            selected pursuant to section 1123(b)(3) of the
                                            Bankruptcy Code), whether arising under state,
                                            federal or foreign law as claims, cross-claims,
                                            counterclaims,      or     third-party    claims
                                            (collectively, the “Barred Claims”), and with
                                            respect to the Barred Claims, the Barred
                                            Persons are also entitled to judgment reduction
                                            in an amount proportionate to the Counterparty
                                            Released Parties’ fault.

Concerning the Service Corporations:        The Agreement will not preclude the City from
                                            continuing to assert in its litigation to
                                            invalidate the Certificates of Participation that
                                            the City has no obligation to the Service
                                            Corporations under the Service Contracts or
                                            that the Service Corporation should be
                                            disregarded entities.

                                            However, to the extent that the City at any time
                                            on or after the execution of the Agreement has
                                            the ability to control the actions of either
                                            Service Corporation, the City will not cause or
                                            permit the Service Corporation to commence
                                            any litigation or take any other action that the



                                           -10-
13-53846-tjt   Doc 2802-6    Filed 03/03/14 Entered 03/03/14 18:48:54        Page 11 of 13
                                                Service Corporation would not have been able
                                                to commence or take if the Service Corporation
                                                were a party to the Agreement and obligated to
                                                the same extent as the City under the
                                                Agreement including making or pursuing any
                                                Released Claim. In addition, in any event, the
                                                order approving the Agreement will bar either
                                                Service Corporation from at any time
                                                commencing such litigation or taking any such
                                                other action.


Reservation of Certain Rights:                  Neither the order approving the Agreement nor
                                                the Agreement will impair any rights that UBS,
                                                MLCS or any of UBS’s or MLCS’s affiliates
                                                may have to intervene in the City’s litigation to
                                                invalidate the Certificates of Participation.

                                                UBS and MLCS will reserve and retain all
                                                rights, claims and remedies related to the
                                                Swaps or the Swap Policies against any person
                                                that is not a party to the Agreement, including
                                                without limitation, either Service Corporation
                                                or either Swap Insurer, but neither UBS nor
                                                MLCS will exercise any right, claim or remedy
                                                against a Swap Insurer in connection with the
                                                Swap Policies that results in the Swap Insurer
                                                acquiring an allowed secured claim for
                                                reimbursement, or an allowed secured claim by
                                                way of subrogation, against the City. The
                                                provisions of this paragraph shall not apply
                                                with respect to a Service Corporation if that
                                                Service Corporation is collapsed into,
                                                disregarded,      veil-pierced,   substantively
                                                consolidated with or similarly treated with
                                                respect to the City.

                                                The Agreement will not affect any intercreditor
                                                arrangements between UBS and MLCS inter
                                                se.

Public Statements:                              The City agrees that neither it nor its
                                                professionals nor its emergency manager will
                                                make any disparaging or negative statements or
                                                comments to the press regarding UBS or
                                                MLCS, including with respect to the claims



                                               -11-
13-53846-tjt   Doc 2802-6        Filed 03/03/14 Entered 03/03/14 18:48:54        Page 12 of 13
                                           that are being settled against UBS or MLCS
                                           pursuant to the Agreement.




                                          -12-
13-53846-tjt   Doc 2802-6   Filed 03/03/14 Entered 03/03/14 18:48:54   Page 13 of 13
